Form nttfclm

211 West Fort Street
Detroit, MI 48226


                                     UNITED STATES BANKRUPTCY COURT
                                           Eastern District of Michigan

                                                 Case No.: 11−44385−wsd
                                                       Chapter: 7

In Re: (NAME OF DEBTOR(S))
   Angela Sword Lewis                                          Thomas K. Lewis
   560 Meadowbrook                                             1016 Lincoln, Apt. #1
   Adrian, MI 49221                                            Bettendorf, IA 52722
Social Security No.:
   xxx−xx−3175                                                 xxx−xx−5483
Employer's Tax I.D. No.:


               NOTICE OF NEED TO FILE PROOF OF CLAIM DUE TO RECOVERY OF ASSETS

NOTICE IS GIVEN THAT:
The initial notice in this case instructed creditors that it was not necessary to file a proof of claim. Since that notice
was sent, assets have been recovered by the trustee.

Creditors who wish to share in any distribution of funds must file a proof of claim with the clerk of the bankruptcy
court at the address above on or before:

                                                     October 3, 2011

Creditors who do not file a proof of claim on or before this date will not share in any distribution from the debtor's
estate.

The proof of claim form is enclosed with this notice. It may be filed by regular mail. If you wish to receive proof of
its receipt by the bankruptcy court, enclose a photocopy of the proof of claim together with a stamped, self−addressed
envelope.

There is no fee for filing the proof of claim.

Any creditor who has previously filed a proof of claim in this case need not file another proof of claim.


Dated: 7/6/11

                                                               BY THE COURT


                                                               Katherine B. Gullo , Clerk of Court
                                                               UNITED STATES BANKRUPTCY COURT




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B10 (Official Form 10) (04/10)

UNITED STATES BANKRUPTCY COURT Eastern District of Michigan                                                                                    PROOF OF CLAIM

Name of Debtor: Angela Sword Lewis                                                                                           Case Number:       11-44385-wsd
                Thomas K. Lewis
       NOTE: This form should not be used to make a claim for an administrative expense arising after the commencement of the case. A request for payment of an
                                                  administrative expense may be filed pursuant to 11 U.S.C. § 503.
Name of Creditor (the person or other entity to whom the debtor owes money or property):                                        Check this box to indicate that this claim
                                                                                                                                amends a previously filed claim.
Name and address where notices should be sent:
                                                                                                                             Court Claim Number:______________
                                                                                                                             (If known)




Telephone number:                                                                                                            Filed on:_____________________
Name and address where payment should be sent (if different from above):                                                        Check this box if you are aware that anyone
                                                                                                                                else has filed a proof of claim relating to your
                                                                                                                                claim. Attach copy of statement giving
                                                                                                                                particulars.

                                                                                                                                Check this box if you are the debtor or trustee
Telephone number:                                                                                                               in this case.
1. Amount of Claim as of Date Case Filed:                 $_______________________________                                   5. Amount of Claim Entitled to Priority under
                                                                                                                                11 U.S.C. §507(a). If any portion of your
If all or part of your claim is secured, complete item 4 below; however, if all of your claim is unsecured, do not              claim falls in one of the following categories,
complete item 4.                                                                                                                check the box and state the amount.

If all or part of your claim is entitled to priority, complete item 5.
                                                                                                                             Specify the priority of the claim.
  Check this box if claim includes interest or other charges in addition to the principal amount of claim. Attach
   itemized statement of interest or charges.                                                                                   Domestic support obligations under 11
                                                                                                                                U.S.C. §507(a)(1)(A) or (a)(1)(B).
2. Basis for Claim: _____________________________
   (See instruction #2 on reverse side.)                                                                                        Wages, salaries, or commissions (up to
3. Last four digits of any number by which creditor identifies debtor: ______________________                                   $11,725*) earned within 180 days before
                                                                                                                                filing of the bankruptcy petition or cessation
     3a. Debtor may have scheduled account as: ____________________                                                             of the debtor’s business, whichever is earlier
          (See instruction #3a on reverse side.)                                                                                - 11 U.S.C. §507 (a)(4).
4. Secured Claim (See instruction #4 on reverse side.)                                                                          Contributions to an employee benefit plan - 11
   Check the appropriate box if your claim is secured by a lien on property or a right of setoff and provide the                U.S.C. §507 (a)(5).
   requested information.
                                                                                                                                Up to $2,600* of deposits toward purchase,
  Nature of property or right of setoff:        Real Estate          Motor Vehicle        Other                                 lease, or rental of property or services for
  Describe:                                                                                                                     personal, family, or household use - 11 U.S.C.
                                                                                                                                §507 (a)(7).
  Value of Property: $________________ Annual Interest Rate___%
                                                                                                                                Taxes or penalties owed to governmental units
  Amount of arrearage and other charges as of time case filed included in secured claim,                                        - 11 U.S.C. §507 (a)(8).
  if any: $__________________ Basis for perfection: ____________________                                                        Other - Specify applicable paragraph of 11
                                                                                                                                U.S.C. §507 (a)(__).
  Amount of Secured Claim: $__________________ Amount Unsecured: $__________________

6. Credits: The amount of all payments on this claim has been credited for the purpose of making this proof of claim.
                                                                                                                                        Amount entitled to priority:
7. Documents: Attach redacted copies of any documents that support the claim, such as promissory notes, purchase
orders, invoices, itemized statements of running accounts, contracts, judgments, mortgages, and security agreements.                          $_______________
You may also attach a summary. Attach redacted copies of documents providing evidence of perfection of a security
interest. You may also attach a summary. (See instruction 7 and definition of "redacted" on reverse side.)

DO NOT SEND ORIGINAL DOCUMENTS. ATTACHED DOCUMENTS MAY BE DESTROYED AFTER                                                    *Amounts are subject to adjustment on 4/1/13
SCANNING.                                                                                                                    and every 3 years thereafter with respect to
                                                                                                                             cases commenced on or after the date of
If the documents are not available, please explain:                                                                          adjustment.

                      Signature: The person filing this claim must sign it. Sign and print name and title, if any, of the creditor or other       FOR COURT USE ONLY
Date:                 person authorized to file this claim and state address and telephone number if different from the notice address
                      above. Attach copy of power of attorney, if any.

                  Penalty for presenting fraudulent claim: Fine of up to $500,000 or imprisonment for up to 5 years, or both. 18 U.S.C. §§ 152 and 3571.




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B10 (Official Form 10) (04/10) - Cont.
                                                       INSTRUCTIONS FOR PROOF OF CLAIM FORM
 The instructions and definitions below are general explanations of the law. In certain circumstances, such as bankruptcy cases not filed voluntarily by the debtor, there
                                                                     may be exceptions to these general rules.
                                                                 Items to be completed in Proof of Claim form
Court, Name of Debtor, and Case Number:                                                  4. Secured Claim:
Fill in the federal judicial district where the bankruptcy case was filed (for              Check the appropriate box and provide the requested information if the claim is
example, Central District of California), the bankruptcy debtor’s name, and the             fully or partially secured. Skip this section if the claim is entirely unsecured. (See
bankruptcy case number. If the creditor received a notice of the case from the              DEFINITIONS, below.) State the type and the value of property that secures the
bankruptcy court, all of this information is located at the top of the notice.              claim, attach copies of lien documentation, and state annual interest rate and the
                                                                                            amount past due on the claim as of the date of the bankruptcy filing.
Creditor’s Name and Address:
Fill in the name of the person or entity asserting a claim and the name and              5. Amount of Claim Entitled to Priority Under 11 U.S.C. §507(a):
address of the person who should receive notices issued during the bankruptcy               If any portion of your claim falls in one or more of the listed categories, check the
case. A separate space is provided for the payment address if it differs from the           appropriate box(es) and state the amount entitled to priority. (See DEFINITIONS,
notice address. The creditor has a continuing obligation to keep the court                  below.) A claim may be partly priority and partly non-priority. For example, in
informed of its current address. See Federal Rule of Bankruptcy Procedure                   some of the categories, the law limits the amount entitled to priority.
(FRBP) 2002(g).
                                                                                         6. Credits:
1. Amount of Claim as of Date Case Filed:                                                   An authorized signature on this proof of claim serves as an acknowledgment that
   State the total amount owed to the creditor on the date of the Bankruptcy                when calculating the amount of the claim, the creditor gave the debtor credit for
   filing. Follow the instructions concerning whether to complete items 4 and 5.            any payments received toward the debt.
   Check the box if interest or other charges are included in the claim.
                                                                                         7. Documents:
2. Basis for Claim:                                                                         Attach to this proof of claim form redacted copies documenting the existence of
   State the type of debt or how it was incurred. Examples include goods sold,              the debt and of any lien securing the debt. You may also attach a summary. You
   money loaned, services performed, personal injury/wrongful death, car loan,              must also attach copies of documents that evidence perfection of any security
   mortgage note, and credit card. If the claim is based on the delivery of health          interest. You may also attach a summary. FRBP 3001(c) and (d). If the claim is
   care goods or services, limit the disclosure of the goods or services so as to           based on the delivery of health care goods or services, see instruction 2. Do not
   avoid embarrassment or the disclosure of confidential health care information.           send original documents, as attachments may be destroyed after scanning.
   You may be required to provide additional disclosure if the trustee or another
   party in interest files an objection to your claim.                                      Date and Signature:
                                                                                            The person filing this proof of claim must sign and date it. FRBP 9011. If the
3. Last Four Digits of Any Number by Which Creditor Identifies Debtor:                      claim is filed electronically, FRBP 5005(a)(2), authorizes courts to establish local
   State only the last four digits of the debtor’s account or other number used by          rules specifying what constitutes a signature. Print the name and title, if any, of the
   the creditor to identify the debtor.                                                     creditor or other person authorized to file this claim. State the filer’s address and
                                                                                            telephone number if it differs from the address given on the top of the form for
   3a. Debtor May Have Scheduled Account As:                                                purposes of receiving notices. Attach a complete copy of any power of attorney.
   Use this space to report a change in the creditor’s name, a transferred claim, or        Criminal penalties apply for making a false statement on a proof of claim.
   any other information that clarifies a difference between this proof of claim
   and the claim as scheduled by the debtor.
                                      __________DEFINITIONS__________                                                                ______INFORMATION______

Debtor                                                     A lien may be voluntarily granted by a debtor or may        Acknowledgment of Filing of Claim
A debtor is the person, corporation, or other entity       be obtained through a court proceeding. In some             To receive acknowledgment of your filing, you may
that has filed a bankruptcy case.                          states, a court judgment is a lien. A claim also may        either enclose a stamped self-addressed envelope and a
                                                           be secured if the creditor owes the debtor money            copy of this proof of claim or you may access the court’s
Creditor                                                   (has a right to setoff).                                                     __________________________
                                                                                                                       PACER system (www.pacer.psc.uscourts.gov) for a
A creditor is a person, corporation, or other entity                                                                   small fee to view your filed proof of claim.
owed a debt by the debtor that arose on or before the      Unsecured Claim
date of the bankruptcy filing. See 11 U.S.C. §101          An unsecured claim is one that does not meet the            Offers to Purchase a Claim
(10).                                                      requirements of a secured claim. A claim may be             Certain entities are in the business of purchasing claims
                                                           partly unsecured if the amount of the claim exceeds         for an amount less than the face value of the claims. One
Claim                                                      the value of the property on which the creditor has a       or more of these entities may contact the creditor and
A claim is the creditor’s right to receive payment on      lien.                                                       offer to purchase the claim. Some of the written
a debt owed by the debtor that arose on the date of                                                                    communications from these entities may easily be
the bankruptcy filing. See 11 U.S.C. §101 (5). A           Claim Entitled to Priority Under 11 U.S.C.                  confused with official court documentation or
claim may be secured or unsecured.                         §507(a) Priority claims are certain categories of           communications from the debtor. These entities do not
                                                           unsecured claims that are paid from the available           represent the bankruptcy court or the debtor. The
Proof of Claim                                             money or property in a bankruptcy case before other         creditor has no obligation to sell its claim. However, if
A proof of claim is a form used by the creditor to         unsecured claims.                                           the creditor decides to sell its claim, any transfer of such
indicate the amount of the debt owed by the debtor                                                                     claim is subject to FRBP 3001(e), any applicable
on the date of the bankruptcy filing. The creditor         Redacted                                                    provisions of the Bankruptcy Code (11 U.S.C. § 101 et
must file the form with the clerk of the same              A document has been redacted when the person                seq.), and any applicable orders of the bankruptcy court.
bankruptcy court in which the bankruptcy case was          filing it has masked, edited out, or otherwise deleted,
filed.                                                     certain information. A creditor should redact and use
                                                           only the last four digits of any social-security,
Secured Claim Under 11 U.S.C. §506(a)                      individual’s tax-identi fication, or financial-account
A secured claim is one backed by a lien on property        number, all but the initials of a minor’s name and
of the debtor. The claim is secured so long as the         only the year of any person’s date of birth.
creditor has the right to be paid from the property
prior to other creditors. The amount of the secured        Evidence of Perfection
claim cannot exceed the value of the property. Any         Evidence of perfection may include a mortgage, lien,
amount owed to the creditor in excess of the value of      certificate of title, financing statement, or other
the property is an unsecured claim. Examples of            document showing that the lien has been filed or
liens on property include a mortgage on real estate        recorded.
or a security interest in a car.




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                                                United States Bankruptcy Court
                                                Eastern District of Michigan
 In re:                                                                                                     Case No. 11-44385-wsd
 Angela Sword Lewis                                                                                         Chapter 7
 Thomas K. Lewis
          Debtors
                                                  CERTIFICATE OF NOTICE
 District/off: 0645-2                  User: clang                        Page 1 of 1                          Date Rcvd: Jul 06, 2011
                                       Form ID: ntctfclm                  Total Noticed: 28


 Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
 Jul 08, 2011.
 db            +Angela Sword Lewis,    560 Meadowbrook,    Adrian, MI 49221-1384
 jdb           +Thomas K. Lewis,    1016 Lincoln, Apt. #1,    Bettendorf, IA 52722-4155
 19758033      +ABN AMRO Mortgage Group, Inc.,     5280 Corporate Drive, MC 22-528-1020,    Frederick, MD 21703-8351
 19758034      +Advanced Radiology, S.C.,     615 Valley View Dr., Ste. 202,    Moline, IL 61265-6180
 19758041    ++COMCAST,     41112 CONCEPT DR,    PLYMOUTH MI 48170-4253
               (address filed with court: Comcast,      P.O. Box 3006,   Southeastern, PA 19398)
 19758037      +Cable Equipment Services, Inc.,     13199 Francis Road,    DeWitt, MI 48820-9209
 19758039      +Citizens Gas Fuel Co.,    127 N. Main St.,    Adrian, MI 49221-2711
 19758040      +City Of Adrian,    135 E. Maumee St.,    Adrian, MI 49221-2703
 19758042      +Consumers Energy,    Lansing, MI 48937-0001
 19758044      +Fifth Third Bank,    1830 East Paris,    Grand Rapids, MI 49546-8803
 19758047      +Iowa Health Physicians,    P.O. Box 1455,    Des Moines, IA 50306-1455
 20040114      +Jim and Blanche Sword,    3331 Marvin Drive,    Adrian, MI 49221-9290
 19758048      +Karle Nursery & Landscaping, LLC,     P.O. Box 13,   Tipton, MI 49287-0013
 19758050      +Northstar Location Services, LLC,     4285 Genesse Street,    Cheektowaga, NY 14225-1943
 19758051      +RAB, Inc.,    P.O. Box 34111,    Memphis, TN 38184-0111
 19758054      +Sunrise Credit Services, Inc.,     P.O. Box 9100,   Farmingdale, NY 11735-9100
 19758055      +TekCollect,    P.O. Box 1269,    Columbus, OH 43216-1269
 19758057      +University Of Michigan Hospital,     P.O. Box 77000; Dept. 77914,    Detroit, MI 48277-2000

 Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
 19758036     +EDI: BANKAMER.COM Jul 06 2011 21:48:00      Bank Of America,    P.O. Box 15026,
                Wilmington, DE 19850-5026
 19758035     +EDI: BANKAMER2.COM Jul 06 2011 21:58:00      Bank Of America,    P.O. Box 15726,
                Wilmington, DE 19886-5726
 19758038     +EDI: CIAC.COM Jul 06 2011 21:58:00      Citimortgage,    P.O. Box 183040,    Columbus, OH 43218-3040
 19758043     +EDI: CREDPROT.COM Jul 06 2011 21:58:00      Credit Protection Association, LP,     13355 Noel Road,
                Dallas, TX 75240-6602
 19758045     +EDI: RMSC.COM Jul 06 2011 21:58:00      GEMB/JC Penneys,    P.O. Box 981402,
                El Paso, TX 79998-1402
 19758046     +EDI: HFC.COM Jul 06 2011 21:58:00      HSBC Bank,    P.O. Box 5253,    Carol Stream, IL 60197-5253
 19758049     +EDI: CBSKOHLS.COM Jul 06 2011 21:58:00      Kohl’s,    P.O. Box 3043,    Milwaukee, WI 53201-3043
 19758052     +EDI: SEARS.COM Jul 06 2011 21:58:00      Sears Card,    P.O. Box 6241,    Sioux Falls, SD 57117-6241
 19758053      EDI: SEARS.COM Jul 06 2011 21:58:00      Sears/CBSD,    133200 Smith Road,    Cleveland, OH 44130
 19758056     +E-mail/Text: support@ucscollections.com Jul 06 2011 21:53:28        Universal Credit Services,
                3582 Avon St.,   Hartland, MI 48353-7707
                                                                                                TOTAL: 10

               ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
 ust              Daniel M. McDermott
                                                                                                                     TOTALS: 1, * 0, ## 0

 Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
 USPS regulations require that automation-compatible mail display the correct ZIP.

 Addresses marked ’++’ were redirected to the recipient’s preferred mailing address
 pursuant to 11 U.S.C. 342(f)/Fed.R.Bank.PR.2002(g)(4).




I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.

Meeting of Creditor Notices only (Official Form 9): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social Security
Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required by the
bankruptcy rules and the Judiciary’s privacy policies.




Date: Jul 08, 2011                                       Signature:




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